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Attorneys for Plaintiff

                            IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF UTAH, CENTRAL DIVISION

 MARLON S. BIRD, an individual,
                              Plaintiff,
                    v.
 RESOLUTE CAPITAL PARTNERS LTD.,
 LLC, a Nevada foreign limited liability
 company; PRMH LENDERS FUND IV,
 LLC, a Delaware limited liability corporation;
 PETROROCK MINERAL HOLDINGS,
 LLC, a Texas limited liability company;                     COMPLAINT
 HOMEBOUND RESOURCES, LLC, a Texas
 limited liability corporation; HOMEBOUND,
 INC., a Texas corporation; MERCURY
                                                                       2:20-cv-397-HCN
                                                       Civil Case No. ______________
 OPERATING, LLC, a Texas limited liability
 company; HOME BOUND FINANCIAL
 GROUP, LP, a Texas corporation; STEFAN                                  Howard C. Nielson, Jr.
                                                    The Honorable Judge_______________
 TOTH, an individual; TED ETHEREDGE, an
 individual; PABLO CORTEZ, an individual;
 SHELLY PERDUE, an individual; THOMAS
 POWELL, an individual; WARREN
 TARYLE, an individual; ROGER A.
 CRABB, an individual; JACQUELINE
 KUIPER, an individual; CODY FLORES, an
 individual; JASON BLAKE, an individual;
 LIVE ABUNDANT, a Utah limited liability
 company; DOES 1–20;
                              Defendants.




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         Plaintiff Marlon S. Bird, through counsel and pursuant to the Federal Rules of Civil

Procedure, hereby complains against Defendants Resolute Capital Partners LTD., LLC, PRMH

Lenders Fund IV, LLC, PetroRock Mineral Holdings, LLC, HomeBound Resources, LLC,

HomeBound, Inc., Home Bound Financial Group, LP, Mercury Operating, LLC, Stefan Toth, Ted

Etheredge, Pablo Cortez, Shelly Perdue, Thomas Powell, Warren Taryle, Roger A. Crabb,

Jacqueline Kuiper, Cody Flores, Jason Blake (collectively, the “RCP Parties”), and Live Abundant

(all defendants collectively referred to as “Defendants”), and alleges as follows:

                                      NATURE OF ACTION

         1.       The RCP Parties are a criminal enterprise that have used a Ponzi scheme to defraud

Mr. Bird and steal his retirement savings.

         2.       After working as a printer for three decades, Mr. Bird had saved almost enough to

retire. In an effort to invest prudently, Mr. Bird retained Live Abundant as financial consultants.

Live Abundant advised Mr. Bird to invest with the RCP Parties and effectuated the transfer of Mr.

Bird’s retirement savings—$124,000—into the RCP Parties’ control.

         3.       Shortly after the transfer, Live Abundant disavowed its previous endorsement of

the RCP Parties. Mr. Bird then requested that Live Abundant pull his retirement savings out of the

RCP Parties’ accounts and return it to him. Live Abundant requested that the RCP Parties return

Mr. Bird’s retirement funds, but the RCP Parties refused, stating that only investors themselves

could withdraw funds. When Live Abundant informed Mr. Bird of the RCP Parties’ response, Mr.

Bird immediately contacted the RCP Parties and requested the return of his $124,000. The RCP

Parties refused to return Mr. Bird’s retirement.




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         4.       Now, well over one year since Mr. Bird’s initial request to have his retirement

returned to him, and after repeated requests for the return of his money, the RCP Parties have

repeatedly promised to return Mr. Bird’s money, but refuse to do so, and Live Abundant has

abandoned its client to fend for himself.

         5.       This Court should prevent further and impending irreparable harm by enjoining the

RCP Parties from continuing to retain Mr. Bird’s retirement savings and compelling the RCP

Parties to return Mr. Bird’s $124,000. By refusing to repay Mr. Bird his retirement funds, the RCP

Parties are in violation of certain promissory notes and loan agreements. The RCP Parties have

used fraud and deception to receive and retain Mr. Bird’s retirement funds. By doing so, and

particularly in light of present-day market volatility, the RCP Parties are causing Mr. Bird

irreparable harm, and should therefore be enjoined.

                                             PARTIES

         6.       Marlon S. Bird is an individual domiciled and residing in Pleasant Grove, Utah.

         7.       Upon information and belief, Resolute Capital Partners LTD., LLC is a foreign

LLC registered in Nevada, with its principal place of business at One Embarcadero Center, Suite

566, San Francisco, California 94111.

         8.       Upon information and belief, PRMH Lenders Fund IV, LLC is a domestic LLC

registered in Delaware, with its principal place of business in Dallas, Texas. The members of

PRMH Lenders Fund IV, LLC are unknown, as Delaware law does not require the public

disclosure of LLC members.

         9.       Upon information and belief, PetroRock Mineral Holdings, LLC is a domestic

LLC registered in Texas, with its principal place of business at 6321 Campus Circle Dr. E., Irving,


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Texas 75063-2712. PetroRock Mineral Holdings, LLC’s sole managing member is Home Bound

Financial Group, LP, located at 1303 W. Walnut Hill Lane, Suite 305, Irving, Texas 75038-2965.

         10.      Upon information and belief, HomeBound Resources, LLC is a domestic LLC

registered in Texas, with its principal place of business at 6321 Campus Circle Dr. E., Irving, Texas

75063-2712. Homebound Resources, LLC’s principal is Home Bound Financial Group, LP,

located at 1303 W. Walnut Hill Lane, Suite 305, Irving, Texas 75038-2965.

         11.      Upon information and belief, HomeBound, Inc. is a Texas corporation with its

principal place of business in Irving, Texas. HomeBound, Inc.’s principals are Stefan Toth and

Ted Etheredge.

         12.      Upon information and belief, Home Bound Financial Group, LP is a domestic

limited partnership, with its principal place of business at 6321 Campus Circle Dr. E., Irving, Texas

75063-2712. Home Bound Financial Group, LP’s partners are HomeBound, Inc. (General Partner,

located at 4948 Eyrie Ct., Grand Prairie, Texas 75052), Love 2 Live, LP (Limited Partner, located

at 1303 W. Walnut Hill Lane, Suite 305, Irving, Texas 75038-2965), and 2X5 Enterprises Limited

Partnership (Limited Partner, located at 1303 W. Walnut Hill Lane, Suite 305, Irving, Texas

75038-2965).

         13.      Upon information and belief, Mercury Operating, LLC is a domestic LLC, with

its principal place of business located at 1303 W. Walnut Hill Lane, Suite 305, Irving, Texas

75038-2965. Mercury Operating, LLC’s principal is Home Bound Financial Group, LP, located at

1303 W. Walnut Hill Lane, Suite 305, Irving, Texas 75038-2965.

         14.      Upon information and belief, Stefan Toth is an individual domiciled and residing

in Dallas or Fort Worth, Texas.


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         15.      Upon information and belief, Ted Etheredge is an individual domiciled and

residing in Dallas or Fort Worth, Texas.

         16.      Upon information and belief, Pablo Cortez is an individual domiciled and residing

in Dallas or Fort Worth, Texas.

         17.      Upon information and belief, Shelly Perdue is an individual domiciled and residing

in Dallas or Fort Worth, Texas.

         18.      Upon information and belief, Thomas Powell is an individual domiciled and

residing in Dallas or Fort Worth, Texas.

         19.      Upon information and belief, Warren Taryle is an individual domiciled and

residing in Dallas or Fort Worth, Texas.

         20.      Upon information and belief, Roger A. Crabb is an individual domiciled and

residing in Dallas or Fort Worth, Texas.

         21.      Upon information and belief, Jaqueline Kuiper is an individual domiciled and

residing in Reno, Nevada.

         22.      Upon information and belief, Cody Flores is an individual domiciled and residing

in Dallas or Fort Worth, Texas.

         23.      Upon information and belief, Jason Blake is an individual domiciled and residing

in San Francisco, California.

                                  JURISDICTION AND VENUE

         24.      This Court has original jurisdiction over this civil action pursuant to 28 U.S.C.

§ 1331 because the action arises under the laws of the United States. Mr. Bird’s federal claims are

predicated on 15 U.S.C. § 78j and 18 U.S.C. § 1962(c).


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         25.      This Court has supplemental jurisdiction over all other non-federal-question claims

pursuant to 28 U.S.C. § 1367 because the other claims are “so related to claims in the action within

such original jurisdiction that they form part of the same case or controversy under Article III of

the United States Constitution.” 28 U.S.C. § 1367(a).

         26.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the events or omissions giving rise to the claim

occurred.

                                    FACTUAL BACKGROUND

         27.      Mr. Bird worked for nearly thirty years as a printer in a bindery called Press

Publishing, and later Press Media. During this time, Mr. Bird saved for his retirement.

         28.      In the spring and summer of 2017, Mr. Bird heard radio advertisements sponsored

by Live Abundant, wherein Live Abundant advertised certain seminars for potential investors. Mr.

Bird began attending the seminars that summer.

         29.      In the seminars, Live Abundant held itself out as being operated by financial

professionals and invited potential investors like Mr. Bird to invest in certain life insurance policies

offered by Live Abundant.

         30.      Live Abundant told Mr. Bird that federal law prevented investors from funding

more than 20% of the life insurance policy each year, and that the policies were to be fully funded

over the course of five years.

         31.      While its clients were waiting to fully fund the life insurance policies, Live

Abundant offered several investment opportunities. The idea being that (generally speaking) in the




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first year, when one was only able to fund 20% of the policy, the other 80% could be parked in a

safe, high-interest investment until it could be transferred into the life insurance policy.

         32.      Live Abundant advised Mr. Bird to invest his retirement savings with the RCP

Parties in or around September of 2017.

         33.      Live Abundant endorsed the RCP Parties as a trustworthy, safe investment

opportunity, and informed Mr. Bird that it had visited the RCP Parties’ premises in Texas and that

it approved of the RCP Parties as a dependable investment group.

         34.      Live Abundant further advised Mr. Bird to withdraw the retirement savings that

Mr. Bird had at that time invested with Fidelity, and advised him to place the funds with GoldStar

Trust Company—a self-directed IRA—through which Live Abundant would then direct the funds

into the control of the RCP Parties.

         35.      Mr. Bird trusted Live Abundant’s representations and retained its financial

professionals as financial consultants.

         36.      In September of 2017, the RCP Parties communicated to Mr. Bird regarding the

integrity of their investment opportunities through certain print and electronic media, wherein the

RCP Parties made specific representations regarding “Secured – First Lien Promissory Notes

paying 7.5% - 8.0% - 9.0% annual returns with monthly interest payments being offered to

qualified Direct Lenders.”

         37.      The RCP Parties made many additional representations and statements to bolster

the integrity of their investment opportunities, including by stating that the RCP Parties had

sufficient cash reserves to “provide[] a margin of safety for the Lenders.”




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         38.      Mr. Bird then followed the counsel of Live Abundant and, on September 27, 2017,

transferred his retirement savings from Fidelity to GoldStar Trust Company.

         39.      Live Abundant then provided Mr. Bird with two promissory notes (one for $44,000

and one for $80,000) and two accompanying loan agreements, the terms of which provided

(generally speaking) that Mr. Bird would loan $124,000 to PRMH Lenders Fund IV, LLC—which

is wholly owned by PetroRock Mineral Holdings, LLC, the sole managing member of which is

Home Bound Financial Group, LP, one of the partners of which is HomeBound, Inc., whose

principals are Stefan Toth and Ted Etheredge. Stefan Toth, Ted Etheredge, and other RCP Parties

have created a network of corporate entities which include, but are not limited to, the entities

named herein as “RCP Parties.”

         40.      The promissory notes Mr. Bird entered into with the RCP Parties are referred to

herein as the “Securities.” The loan agreements Mr. Bird entered into with the RCP Parties are

referred to as the “Loan Agreements.”

         41.      Live Abundant advised Mr. Bird to enter into the Loan Agreements.

         42.      Pursuant to Live Abundant’s counsel, Mr. Bird entered into the Loan Agreements

with the RCP Parties on or about December 20, 2017 and January 5, 2018.

         43.      Mr. Bird agreed to provide the RCP Parties with $124,000 in exchange for certain

guaranties, consideration, and assurances that Mr. Bird—the creditor—would be paid back. Both

Loan Agreements contained enumerated security interests “in and to the Petro Rock Note IV.”

         44.      Thus, without regard to any language to the contrary in the Loan Agreements, the

RCP Parties sold Mr. Bird two promissory notes, which were both securities.




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         45.      Mr. Bird and his spouse also created a life insurance policy with Live Abundant on

or about February 6, 2018.

         46.      Shortly thereafter, in November of 2018, Live Abundant sent its clients an email

disavowing its previous endorsement of the RCP Parties, and stating that Live Abundant was no

longer affiliated with the RCP Parties. In this same email, Live Abundant provided its clients with

the contact information of various individuals within the RCP Parties.

         47.      Mr. Bird immediately sent emails and paper mail to every listed individual within

the RCP Parties and requested the return of his retirement funds.

         48.      At first, the RCP Parties refused to release Mr. Bird’s savings. The RCP Parties

cited to provisions in the Loan Agreements wherein the lender (i.e., Mr. Bird) is required to provide

a written request for repayment “not less than 60 days prior to Maturity”—with Maturity being

defined as “the last day of the month which is 12 months from the Start Date.” In other words,

since Mr. Bird’s loans to the RCP Parties matured on December 31, 2018, and January 31, 2019

(per their December 20, 2017 and January 5, 2018 start dates), he was required to have provided

written notice for repayment by November 1, 2018 and December 2, 2018. The RCP Parties

claimed that they had not received Mr. Bird’s request until a few days after the December 2

deadline.

         49.      But then, on January 30, 2019, the RCP Parties changed course. The RCP Parties,

through their agent Cody Flores, informed Mr. Bird that “our Executive Team has taken a look at

both Promissory Notes [and t]hey have agreed to process both principal amounts back to your

Goldstar account on 2/25/2019.”




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         50.      February 25, 2019, came and went, however, and the RCP Parties did not return

Mr. Bird’s retirement savings.

         51.      Mr. Bird again sent multiple emails to the RCP Parties and called them regularly in

an attempt to recover his money.

         52.      Mr. Bird then requested that Live Abundant retrieve his retirement savings from

the RCP Parties.

         53.      Upon information and belief, Live Abundant then sent a request to the RCP Parties

to return Mr. Bird’s retirement savings to Mr. Bird’s GoldStar Trust Account.

         54.      On March 25, 2019, the RCP Parties sent Live Abundant a letter stating that it had

no contractual relationship with Live Abundant, and that any request for retrieval of funds must

come specifically from the lender.

         55.      Over the course of 2019, Mr. Bird provided the RCP Parties with written notice

requesting repayment under the Loan Agreements several times, thus satisfying the conditions in

the Loan Agreements requiring 60 days’ written notice.

         56.      The RCP Parties acknowledged receipt of Mr. Bird’s requests for repayment.

         57.      On January 7, 2020, in response to Mr. Bird’s request for an update on the status of

the return of his retirement funds, an agent of the RCP Parties, Jason Blake, told Mr. Bird:

         We have you listed in our system as opted out of renewal. Typically, the return of
         funds would fall between the 25th of the maturing month through 10 days after. If
         there is an instance where the repayment would have to come after the 10[-]day
         window, then you will accrue 18% annualized interest for the number of days over.

         58.      When, on February 12, 2020, Mr. Bird still had not received his retirement funds

from the RCP Parties, he asked Jason Blake for an update on the status of the repayment. Jason

Blake called Mr. Bird the next day and assured him that the RCP Parties were processing the

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repayment, and that, at any rate, they would be paying him 18% interest based on their default

under the terms of the Loan Agreements.

         59.      The RCP Parties paid Mr. Bird 18% interest for approximately three months, and

then informed Mr. Bird that (1) the RCP Parties did not intend to release his retirement savings at

any time in the next five years, and that (2) the RCP Parties would no longer be paying the 18%

default interest rate.

         60.      As of the date of filing this Complaint, the RCP Parties have refused to return Mr.

Bird’s retirement savings.

                                       CAUSES OF ACTION

                              FIRST CLAIM FOR RELIEF
    (Securities Fraud Under § 10 of the Securities Exchange Act of 1934, 15 U.S.C. § 78j)
                                 Against the RCP Parties

         61.      Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.

         62.      Mr. Bird relied on certain specific misrepresentations or misstatements made by the

RCP Parties, including but not limited to the following:

               a. In the autumn and winter of 2017, one or more of the RCP Parties (but particularly

                  including Resolute Capital Partners LTD., LLC, PetroRock Mineral Holdings,

                  LLC, PRMH Lenders Fund IV, HomeBound Resources, LLC, Stefan Toth, Ted

                  Etheredge, and Pablo Cortez) made several representations and statements, both

                  verbally and in emails and other electronic media and printed materials (including

                  the 12-page “Petro Rock Mineral Holdings Fixed Rate Promissory Note”

                  information booklet), regarding the RCP Parties’ legitimacy and viability as an


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                  investment option directly to Mr. Bird, as well as to financial companies like Live

                  Abundant with the intention of said representations and statements being

                  communicated to and relied upon by individual investors like Mr. Bird.

              b. In the autumn and winter of 2017, the RCP Parties stated that the RCP Parties had

                  sufficient cash reserves to “provide[] a margin of safety for the Lenders.”

              c. On December 20, 2017, the RCP Parties represented and stated in a promissory

                  note that Mr. Bird’s loan under the promissory note to the RCP Parties in the

                  amount of $44,000 would be returned to Mr. Bird if he requested its return in

                  writing “not less than 60 days prior to Maturity.”

              d. On January 5, 2018, the RCP Parties represented and stated in a promissory note

                  that Mr. Bird’s loan under the promissory note to the RCP Parties in the amount of

                  $80,000 would be returned to Mr. Bird if he requested its return in writing “not less

                  than 60 days prior to Maturity.”

              e. On January 30, 2019, the RCP Parties, through their agent Cody Flores, told Mr.

                  Bird in an email that the RCP Parties’ “Executive Team” had “taken a look at both

                  Promissory Notes. They have agreed to process both principal amounts back to

                  your Goldstar account on 2/25/2019.”

              f. Over the course of 2019, the RCP Parties have repeatedly assured Mr. Bird that

                  they are processing the return of his retirement savings.

              g. On January 7, 2020, the RCP Parties, through their agent Jason Blake, represented

                  in an email to Mr. Bird that Mr. Bird had been “opted out of renewal,” and that his




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                   retirement savings would be repaid “between the 25th of the maturing month,” in

                   this case December and January, “through 10 days after.”

               h. Throughout the course of their professional relationship, the RCP Parties have

                   repeatedly assured Mr. Bird, both over the phone and in emails, that they are a

                   legitimate investment option with valuable assets and integral business practices.

         63.       The RCP Parties made these and other misrepresentations and misstatements

knowing that they were false.

         64.       The RCP Parties’ misrepresentations and misstatements were regarding the Loan

Agreements, under which the RCP Parties sold Mr. Bird the Securities.1

         65.       Based on his awareness of the specific representations enumerated above, as well

as other contemporaneous representations from the RCP Parties, Mr. Bird purchased two securities

from the RCP Parties.


1
  The RCP Parties attempt to disclaim the title of “security” by claiming in the Loan Agreements that “[t]he Note is
not considered a security, and accordingly has not been registered with the Securities and Exchange Commission
under the Securities Act of 1933, or with any state securities regulatory agency.” However, the RCP Parties offer these
notes publicly to investors, and both notes are collateral given or pledged to guarantee the fulfillment of an obligation
with the assurance that the creditor will be repaid with interest any money or credit extended to the debtor, which is
the very definition of a “security.” See 15 U.S.C. § 78c(10) (“The term ‘security’ means any note . . ., certificate of
interest or participation in any profit-sharing agreement or in any oil, gas, or other mineral royalty or lease, any
collateral-trust certificate . . ., transferable share, investment contract . . ., certificate of deposit for a security, any put,
call, straddle, option, or privilege on any security, certificate of deposit, or group or index of securities (including any
interest therein or based on the value thereof), or any put, call, straddle, option, or privilege entered into on a national
securities exchange relating to foreign currency, or in general, any instrument commonly known as a ‘security’; or
any certificate of interest or participation in, temporary or interim certificate for, receipt for, or warrant or right to
subscribe to or purchase, any of the foregoing . . . .” (emphases added)); see also SEC v. C. M. Joiner Leasing Corp.,
320 U.S. 344, 351 (1943) (holding that the term “security” was defined by the Securities Act to include “by name or
description many documents in which there is common trading for speculation or investment” (emphasis
added)), judgment entered, 53 F. Supp. 714 (N.D. Tex. 1944); Marine Bank v. Weaver, 455 U.S. 551, 559 (1982)
(defining “instruments found to constitute securities” as those instruments which are “offer[ed] to a number of
potential investors”). The RCP Parties cannot sell securities, then attempt to avoid liability under the law by making
the conclusory and absurd claim that the Securities are not securities. Indeed, the Loan Agreements themselves contain
a “Security Interest” provision detailing the collateral pledged to guarantee the fulfillment of the RCP Parties’
obligations with assurances that Mr. Bird will be repaid, with interest, the entire loan amount he extended to the RCP
Parties.


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         66.      The RCP Parties’ misrepresentations have directly and proximately caused Mr.

Bird to suffer serious economic loss in the form of Mr. Bird losing all, or substantially all, of his

$124,000 in retirement savings.

         67.      As a direct and proximate result of the RCP Parties’ securities fraud, Mr. Bird has

been damaged in the amount of at least $124,000. Further, as a direct and proximate result of the

RCP Parties’ securities fraud, Mr. Bird has suffered, and continues to suffer, immediate and

irreparable harm, and he is entitled to injunctive relief enjoining the RCP Parties’ fraudulent

scheme, as well as declaratory relief, monetary damages, and attorneys’ fees and costs. Because

the RCP Parties’ conduct was sufficiently willful and malicious, Mr. Bird is further entitled to

punitive damages.

                                  SECOND CLAIM FOR RELIEF
               (Violation of the Racketeer Influenced and Corrupt Organizations Act
                                     Under 18 U.S.C. § 1962(c))
                                      Against the RCP Parties

         68.      Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.

         69.      The individual entities and individuals making up the RCP Parties are “persons”

for purposes of 18 U.S.C. § 1962(c). See 18 U.S.C. § 1961(3) (providing that a “‘person’ includes

any individual or entity capable of holding a legal or beneficial interest in property”).

         70.      While some of the persons which constitute the RCP Parties are not formed in a

single legal entity, the RCP Parties’ shared or common purpose, as well as their maintained

ongoing organizational structure through which the persons function as a continuing unit,

constitutes an “associate-in-fact enterprise.”



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         71.      The RCP Parties are an organization who knowingly commits and/or conspires to

the commission of a long-term, organized pattern of criminal racketeering activity.

         72.      Specifically, the RCP Parties are engaged in the commission of one or more Ponzi

schemes, wherein the RCP Parties lure investors into seemingly legitimate investment

opportunities which do not actually exist.

         73.      The RCP Parties defraud investors into thinking that the investors’ money is being

legitimately invested in certain enumerated assets, when in fact it is not. This fraud is committed

using electronic means, such as by email, phone, and wire, and through the traditional mail

channels.

         74.      The RCP Parties, who are based in Texas, are luring in and defrauding investors

from multiple states, including Utah, thus having an effect on interstate commerce.

         75.      The RCP Parties’ pattern of racketeering activity has ensnared Mr. Bird and his

retirement savings, and has caused, and will continue to cause, irreparable harm.

         76.      Mr. Bird is accordingly entitled to injunctive relief to prevent further irreparable

harm, as well as treble damages and attorneys’ fees under 18 U.S.C. § 1964(c) (“Any person

injured in his business or property by reason of a violation of section 1962 of this chapter may sue

therefor in any appropriate United States district court and shall recover threefold the damages he

sustains and the cost of the suit, including a reasonable attorney’s fee.”). Because the RCP Parties’

conduct was sufficiently willful and malicious, Mr. Bird is further entitled to punitive damages.




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                                 THIRD CLAIM FOR RELIEF
            (Securities Fraud Under Utah Code § 61-1-1 and Texas Blue Sky Law, Tex.
                               Rev. Civ. Stat. Ann. Art. 581, § 33)
                                    Against the RCP Parties

           77.      Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.

           78.      The RCP Parties are “persons” as defined by Utah’s Uniform Securities Act (see

Utah Code Ann. § 61-1-13(x) (defining “Person” as including, among other entities, individuals,

corporations, partnerships, limited liability companies, joint ventures, unincorporated

organizations)) and by Texas’s Blue Sky Law—Securities (see Tex. Rev. Civ. Stat. Ann. art. 581,

§ 4(B) (containing a similar definition of person as Utah Code Ann. § 61-1-13(x)).

           79.      The RCP Parties willfully engaged in the creation of a scheme to defraud Mr. Bird.

           80.      Specifically, and as more thoroughly detailed in the incorporated paragraphs above,

the RCP Parties willfully created promissory notes and loan agreements, as well as print and

electronic media materials, to give the illusion that the RCP Parties were offering legitimate

securities investments backed by valuable assets.

           81.      The RCP Parties sold Mr. Bird two instruments which the RCP Parties represented

as being legitimate securities backed by valuable assets.2

           82.      In fact, the RCP Parties are not a legitimate investment group with valuable assets,

and instead are a collection of individuals and entities willfully and maliciously engaged in a

scheme to defraud investors.




2
    See supra note 1.

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         83.      The RCP Parties made untrue and misleading statements of material fact regarding

the Securities they sold to Mr. Bird.

         84.      The RCP Parties engaged in an act, practice, and course of business which operates

as a fraud or deceit upon Mr. Bird and other investors.

         85.      As a direct and proximate result of the RCP Parties’ securities fraud, Mr. Bird has

been damaged in the amount of at least $124,000. Further, as a direct and proximate result of the

RCP Parties’ securities fraud, Mr. Bird has suffered, and continues to suffer, immediate and

irreparable harm, and he is entitled to injunctive relief enjoining the RCP Parties’ fraudulent

scheme, as well as declaratory relief, monetary damages, and attorneys’ fees and costs. Because

the RCP Parties’ conduct was sufficiently willful and malicious, Mr. Bird is further entitled to

punitive damages.

                                 FOURTH CLAIM FOR RELIEF
                            (Breach of Contract Under Texas State Law)

         86.      Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.

         87.      Mr. Bird and the RCP Parties entered into the Loan Agreements on December 20,

2017, and January 5, 2018.

         88.      The Loan Agreements are valid contracts.

         89.      Mr. Bird tendered performance under the Loan Agreements by providing the RCP

Parties with $124,000.

         90.      The RCP Parties breached the Loan Agreements by refusing to return Mr. Bird’s

principal loan of $124,000, despite Mr. Bird providing written notice of cancellation in conformity

with the Loan Agreements.

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         91.      As a direct and proximate result of the RCP Parties’ breach of contract, Mr. Bird

has been damaged in the amount of at least $124,000, and is entitled to recover that amount from

the RCP Parties. Pursuant to the Loan Agreements’ attorneys’ fees provisions, Mr. Bird is also

entitled to recover his attorneys’ fees in pursuing this action.

                                   FIFTH CLAIM FOR RELIEF
                                   (Fraud Under Utah State Law)
                                      Against the RCP Parties

         92.      Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.

         93.      In order to perpetuate a fraudulent scheme, the RCP Parties repeatedly made false

and misleading representations (as more thoroughly detailed in the incorporated paragraphs above)

to lure investors like Mr. Bird into investing with the RCP Parties.

         94.      These false and misleading representations were concerning the presently existing

material fact of how Mr. Bird’s retirement savings were being invested.

         95.      The RCP Parties knew their statements were false when they made them.

         96.      The RCP Parties made these false and misleading representations for the purpose

of inducing Mr. Bird to act upon the representations.

         97.      Mr. Bird, acting reasonably and in ignorance of the falsity of the representations,

did in fact rely upon the representations, and was thereby induced to act upon the representations

by providing his retirement savings to the RCP Parties.

         98.      Mr. Bird’s acting upon the RCP Parties’ misrepresentations has been to Mr. Bird’s

injury and damage.




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         99.      As a direct and proximate result of the RCP Parties’ fraud, Mr. Bird has been

damaged in the amount of at least $124,000. Further, as a direct and proximate result of the RCP

Parties’ fraud, Mr. Bird has suffered, and continues to suffer, immediate and irreparable harm, and

he is entitled to injunctive relief enjoining the RCP Parties’ fraudulent scheme, as well as

declaratory relief, monetary damages, and attorneys’ fees and costs. Because the RCP Parties’

conduct was sufficiently willful and malicious, Mr. Bird is further entitled to punitive damages.

                                  SIXTH CLAIM FOR RELIEF
                              (Aiding and Abetting Under Utah Law)
                                      Against All Defendants

         100.     Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.

         101.     To the extent one or more of the Defendants did not materially participate in the

fraud against Mr. Bird, the Defendants aided and abetted the RCP Parties’ in their tortious and

fraudulent activity.

         102.     The Defendants knew that the RCP Parties were committing fraud in breach of their

duty not to do so.

         103.     The Defendants substantially assisted and encouraged the RCP Parties in the

achievement of their systematic fraud.

         104.     As a direct and proximate result of the Defendants’ tortious acts, Mr. Bird has been

damaged in the amount of at least $124,000. Further, as a direct and proximate result of the

Defendants’ actions, Mr. Bird has suffered, and continues to suffer, immediate and irreparable

harm, and he is entitled to injunctive relief enjoining the RCP Parties, as well as declaratory relief,

monetary damages, and attorneys’ fees and costs.


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                                  SEVENTH CLAIM FOR RELIEF
                                   (Conversion Under Utah Law)
                                      Against the RCP Parties

           105.   Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.

           106.   Mr. Bird entrusted his retirement savings with the RCP Parties.

           107.   Mr. Bird’s retirement savings of $124,000 is transferrable property, capable of

manual delivery, and not the subject matter of real property, and therefore constitutes chattel.

           108.   Mr. Bird has, in conformity with the Loan Agreements, requested the return of his

chattel.

           109.   The RCP Parties, without lawful justification, have intentionally refused to return

Mr. Bird’s chattel.

           110.   The RCP Parties’ refusal to return Mr. Bird’s chattel is an act of willful interference

with Mr. Bird’s chattel which deprives Mr. Bird of its use and possession.

           111.   As a direct and proximate result of the RCP Parties’ conversion, Mr. Bird has been

damaged in the amount of at least $124,000—the full value of the chattel. Further, as a direct and

proximate result of the RCP Parties’ actions, Mr. Bird has suffered, and continues to suffer,

immediate and irreparable harm, and he is entitled to injunctive relief enjoining the RCP Parties’

fraudulent scheme, as well as declaratory relief, monetary damages, and attorneys’ fees and costs.

Because the RCP Parties’ conduct was sufficiently willful and malicious, Mr. Bird is further

entitled to punitive damages.




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                                 EIGHTH CLAIM FOR RELIEF
                                (Civil Conspiracy Under Utah Law)
                                      Against the RCP Parties

         112.     Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.

         113.     The RCP Parties are a combination of at least 18 individuals and entities.

         114.     The RCP Parties conspired and agreed on an object to be accomplished, namely,

the creation and perpetration of a Ponzi scheme.

         115.     The RCP Parties had a meeting of the minds on the object to be accomplished and

the means through which the RCP Parties would accomplish it.

         116.     The RCP Parties committed one or more unlawful, overt acts, namely, the

swindling and defrauding of Mr. Bird and the conversion of his retirement savings.

         117.     As a direct and proximate result of the RCP Parties’ civil conspiracy, Mr. Bird has

been damaged in the amount of at least $124,000. Further, as a direct and proximate result of the

RCP Parties’ actions, Mr. Bird has suffered, and continues to suffer, immediate and irreparable

harm, and he is entitled to injunctive relief enjoining the RCP Parties’ fraudulent scheme, as well

as declaratory relief, monetary damages, and attorneys’ fees and costs. Because the RCP Parties’

conduct was sufficiently willful and malicious, Mr. Bird is further entitled to punitive damages.

                                  NINTH CLAIM FOR RELIEF
                               (Unjust Enrichment Under Utah Law)
                                     Against the RCP Parties

         118.     Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.




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           119.   In the event that this Court deems the Loan Agreements to be invalid, void, or

otherwise unenforceable, Mr. Bird pleads in the alternative for equitable relief against the RCP

Parties.

           120.   By loaning the RCP Parties $124,000, Mr. Bird conferred and bestowed a

substantial benefit on the RCP Parties.

           121.   The RCP Parties appreciate and have knowledge of this substantial benefit.

           122.   The RCP Parties have accepted and retained this substantial benefit under

circumstances as to make it inequitable for the RCP Parties to retain the benefit without payment

for its value.

           123.   Such circumstances being, the RCP Parties have taken the full value of the

$124,000 without compensating Mr. Bird for the full value.

           124.   As a direct and proximate result of the RCP Parties’ retention of this material

benefit, Mr. Bird has been damaged in the amount of at least $124,000. Further, as a direct and

proximate result of the RCP Parties’ actions, Mr. Bird has suffered, and continues to suffer,

immediate and irreparable harm, and he is entitled to injunctive relief enjoining the RCP Parties’

fraudulent scheme, as well as declaratory relief, monetary damages, and attorneys’ fees and costs.

                                  TENTH CLAIM FOR RELIEF
                            (Breach of Fiduciary Duty Under Utah Law)
                                      Against Live Abundant

           125.   Mr. Bird incorporates by reference the allegations set forth in the preceding

paragraphs as though fully set forth herein.

           126.   Mr. Bird is not financially trained, educated, or licensed.




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         127.     Mr. Bird retained the financial professionals at Live Abundant as his financial

consultants, and relied upon them for counsel in making financial decisions.

         128.     Live Abundant owes its client Mr. Bird a fiduciary duty of care to act in his best

interest and to prudently, objectively advise him on financial decisions.

         129.     Live Abundant owes its client Mr. Bird a fiduciary duty of loyalty to act in his best

interest and to defend the financial decisions Live Abundant counsels Mr. Bird to make. This

fiduciary duty of loyalty also obligates Live Abundant to use its special skills, training, and

education for Mr. Bird’s benefit.

         130.     Mr. Bird reposed absolute trust and confidence in Live Abundant to advise, counsel,

and protect Mr. Bird. The RCP Parties’ investment structure made Mr. Bird a weaker party with

unique vulnerabilities.

         131.     Live Abundant accepted that trust and confidence from Mr. Bird.

         132.     Mr. Bird depended on Live Abundant to manage his retirement savings pursuant to

its expertise.

         133.     Live Abundant recommended and endorsed the RCP Parties—which, prior to Live

Abundant’s endorsement, Mr. Bird was unaware of. Live Abundant assured Mr. Bird that Live

Abundant had visited the RCP Parties’ facilities and approved of the RCP Parties as a sound, safe

investment.

         134.     Live Abundant had superior knowledge about the RCP Parties that Mr. Bird did not

have, such as information about the corporation structure of the RCP Parties, the particularities of

the RCP Parties’ investment portfolio, and the RCP Parties’ history and reputation (or lack

thereof).


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           135.   Live Abundant advised Mr. Bird to invest his retirement savings with the RCP

Parties.

           136.   Live Abundant effectuated the transfer of Mr. Bird’s retirement savings into the

control of the RCP Parties.

           137.   Shortly thereafter, Live Abundant disavowed its endorsement of the RCP Parties.

           138.   When Live Abundant’s client, Mr. Bird, sought the return of his retirement savings,

Live Abundant simply provided Mr. Bird a list of names within the RCP Parties which he could

contact.

           139.   Live Abundant has not made any material effort to defend its client, Mr. Bird, from

the fraudulent and tortious actions of the RCP Parties.

           140.   Despite Mr. Bird’s repeated pleas for help in retrieving his retirement savings from

the investment that Live Abundant recommended, endorsed, and moved Mr. Bird’s money into,

Live Abundant has refused to provide any assistance.

           141.   Live Abundant’s relationship with Mr. Bird (as financial consultant-client)

constitutes a fiduciary relationship.

           142.   Live Abundant’s counsel to Mr. Bird to invest in the RCP Parties, as well as Live

Abundant’s refusal to assist Mr. Bird in retrieving his retirement savings, was a breach of Live

Abundant’s fiduciary duty to Mr. Bird.

           143.   As a direct and proximate result of Live Abundant’s breach, Mr. Bird has been

damaged in the amount of at least $124,000.




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                                        REQUEST FOR RELIEF

        WHEREFORE, in addition to the requests made through this Complaint, Mr. Bird

respectfully requests that this Court enter judgment against Defendants in the following manner:

                  1.        An award for monetary damages in the amount of $124,000.

                  2.        An award for treble damages against the RCP Parties under the Second

         Cause of Action for the RCP Parties’ violation of the Racketeer Influenced and Corrupt

         Organizations Act.

                  3.        An award of punitive damages against the RCP Parties pursuant to the RCP

         Parties’ willful and malicious conduct.

                  4.        An award of attorneys’ fees and costs in an amount to be proven at trial,

         plus pre- and post-judgment interest to the maximum extent allowable under the applicable

         statutes.

                  5.        In the alternative to Mr. Bird’s legal damages, Mr. Bird seeks an equitable

         award for unjust enrichment against the RCP Parties in the amount of $124,000.

                  6.        A Declaration that the RCP Parties are unlawfully withholding the return of

         Mr. Bird’s retirement savings in violation of the Loan Agreements.

                  7.        A preliminary and permanent injunction enjoining the RCP Parties from

         continuing to interfere with Mr. Bird’s retirement savings, and compelling the RCP Parties

         to immediately return the $124,000 Mr. Bird loaned to the RCP Parties under the Loan

         Agreements.

                  8.        For such other and further relief as the Court deems just and proper.




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Dated: June 22, 2020
                                   STOEL RIVES LLP



                                                ____________
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